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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                      Chapter 11

             QUANERGY SYSTEMS, INC.,1                                    Case No. 22-11305

                                               Debtor.


                              DECLARATION OF LAWRENCE PERKINS IN SUPPORT
                              OF CHAPTER 11 PETITION AND FIRST DAY MOTIONS

                      I, Lawrence Perkins, hereby declare under penalty of perjury:

                      1.     I am the Chief Restructuring Officer (“CRO”) and President of the debtor and

         debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Chapter 11

         Case”). On December 11, 2022, by resolution of the Board of Directors of Quanergy Systems,

         Inc., I was appointed Chief Restructuring Officer and President of the Debtor.2 I have been

         authorized by the Board to submit this declaration in support of the First Day Motions (as defined

         herein).

                      2.     I am also the founder and Chief Executive Officer of SierraConstellation Partners

         LLC (“SCP”). SCP is an interim management, consulting and advisory firm that specializes in

         corporate restructurings, operations improvement, litigation analytics, valuations, and bankruptcy

         case management services, with headquarters in Los Angeles and offices in New York, Boston,

         Houston, Dallas, and Seattle. SCP has extensive experience working with and for distressed

         companies in complex financial and operational restructurings, both out-of-court and in chapter 11

         proceedings throughout the United States.



         1
            The Debtor and the last four digits of its taxpayer identification number are: Quanergy Systems, Inc. (5845). The
         Debtor’s mailing address for purposes of the Chapter 11 Case is 433 Lakeside Drive, Sunnyvale, CA 94085.
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               A separate application for approval of my retention as CRO will be submitted to the Court in due course.
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                    3.   I have over 20 years of management consulting and advisory experience with

         distressed companies or companies undergoing transition. I have held senior roles in various

         industries including healthcare, technology, industrial manufacturing, retail, real estate, and

         financial services.

                    4.   In my capacity as CRO of the Debtor, and because of my discussions with the

         Debtor’s employees, advisors, professionals, and Board of Directors, I have become generally

         familiar with the Debtor’s day-to-day operations, business and financial affairs, and books and

         records.

                    5.   On the date hereof (the “Petition Date”), the debtor and debtor-in-possession in the

         above-captioned chapter 11 case (the “Debtor”) filed a voluntary petition (the “Petition”) with this

         Court for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

         “Bankruptcy Code”), as well as a number of motions requesting various forms of “first day” relief

         (collectively, the “First Day Motions”).

                    6.   I submit this Declaration in support of the Petition and First Day Motions. The

         relief requested in each of the First Day Motions is necessary to maximize the value of the Debtor’s

         estate and allow the Debtor to sustain its current operations in chapter 11.

                    7.   I am familiar with the contents of each First Day Motion (including the exhibits

         and other attachments to such pleadings) and, to the best of my knowledge, after reasonable

         inquiry, believe that the relief sought in each First Day Motion: (i) will enable the Debtor to sustain

         its current level of operations while in chapter 11; (ii) is critical to the Debtor’s ability to maximize

         the value of its business; and (iii) best serves the interests of the Debtor’s estate and creditors.




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         Further, it is my belief that the relief sought in the First Day Motions is in each case narrowly

         tailored and necessary to achieve the goals identified above.3

                  8.      I am familiar with the Debtor’s day-to-day operations, assets, financial condition,

         business affairs, and books and records. Except as otherwise indicated, all facts set forth in this

         Declaration are based upon: (i) my personal knowledge; (ii) information supplied to me by

         members of management, the Debtor’s professionals, or its employees; (iii) my review of relevant

         documents; and/or (iv) my opinion based upon my experience and knowledge of the Debtor’s

         assets, liabilities, and financials. If called upon to testify, I could and would testify competently

         to the facts set forth in this Declaration.

                  9.      The Debtor designs, develops, and markets Light Detection and Ranging

         (“LiDAR”) sensors and 3D perception software solutions that enable intelligent, real-time

         detection, tracking and classification of objects such as people and vehicles in mission-critical

         markets such as security, smart cities and industrial automation. In early 2022, the Debtor became

         publicly traded on the New York Stock Exchange through a special purpose acquisition company

         transaction, whereby the Debtor secured a $125 million equity line of credit and closed the

         Business Combination (defined below) with approximately $30 million of cash on its balance

         sheet. Although the Debtor anticipated sufficient liquidity in the near term following the Business

         Combination, a decline in investor interest in the LiDAR sector, as well as general macroeconomic

         trends during the same time period, caused a selloff of the Debtor’s and other LiDAR industry

         stocks. By June 1, 2022, the Debtor’s market capitalization declined to approximately $48 million,

         reflected by a stock price of approximately $0.52 per share. This decline limited the Debtor’s




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              Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed to them in the
         relevant First Day Motion.
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         access to its equity line of credit or other sources of equity or equity-linked financing offerings,

         while the Debtor’s operating expenses totaled approximately $4 million per month.

                  10.    In June 2022, the Debtor determined that it was necessary to explore strategic

         alternatives to preserve its liquidity, maintain its operations, and maximize value for its

         stakeholders.    On June 29, 2022, the Debtor retained Raymond James & Associates, Inc.

         (“Raymond James”) to explore and evaluate strategic alternatives, including a business

         combination transaction (i.e., a sale to a third party as a going concern) and a financing transaction

         (i.e., a capital raise of structured private debt).

                  11.    As described in more detail below, the Debtor’s prepetition marketing process with

         respect to both a sale to a strategic partner or a comprehensive financing transaction was

         unsuccessful leading up to the Petition Date. The Debtor, however, believes that a timely

         marketing and sale process in Chapter 11 that includes broader outreach to potential purchasers,

         including those interested in purchasing individual assets, in addition to a going concern sale,

         would be value-maximizing for all parties in interest, including unsecured creditors. The Debtor’s

         ability to maximize value depends, in large part, on its ability to proceed expeditiously through

         this Chapter 11 case efficiently and with minimal cash burn. Accordingly, concurrently herewith,

         the Debtor is filing a motion to approve bidding procedures that would allow the Debtor to

         undertake a value-maximizing postpetition sale and marketing process that will build on the

         prepetition marketing process overseen by Raymond James.

                  12.    This Declaration is divided into three parts. Part I sets forth a summary of the

         Debtor’s business, corporate structure, and prepetition indebtedness.           Part II discusses the

         circumstances surrounding the commencement of this Chapter 11 case and the Debtor’s




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         anticipated path forward. Part III sets forth the relevant acts in support of the First Day motions

         filed concurrently herewith.

         I.     The Debtor’s Business

                A.      Background

                 13.    The Debtor’s business was founded in 2012. As described above, the Debtor

         designs, develops, and markets LiDAR sensors and 3D perception software solutions that enable

         robust and intelligent detection, tracking and classification of objects such as people or vehicles.

         LiDAR is a time-of-flight sensing technology that pulses low-power, eye-safe lasers and measures

         the time it takes for the laser to complete a round trip between the sensor and a target. The resulting

         aggregate data are used to generate a 3D point cloud image, which provides both spatial location

         and depth information to identify, classify, and track moving objects.

                 14.    The Debtor provides high performance LiDAR sensors and 3D perception software

         designed to improve safety, efficiency, and performance while reducing costs in a wide variety of

         markets and applications. The Debtor’s patented M Series of LiDAR sensors feature high

         resolution, 360-degree field of view that generate rich 3D point clouds in real-time at long range.

         These LiDAR sensors are a reliable solution for challenging real-world applications in mission-

         critical markets such as security, smart cities and industrial automation.

                 15.    LiDAR is different from radar and camera-based sensing systems because LiDAR

         provides a full real-time 3D image of the world around it in any lighting condition and captures no

         personally identifying information. LiDAR creates an image of the object at the same time as it

         determines the object’s distance, thus providing a 3D view of the object and the precise calculation

         of the direction in which it is moving—something neither cameras nor radar can provide. In

         addition, neither radar nor cameras can see accurately in the dark or through weather conditions


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         such as rain or snow, which substantially limit their “sight” capabilities. LiDAR can also provide

         surface measurements and a precise resolution of objects within a certain range. Because of its

         inherent performance capabilities and advantages, LiDAR has become a vital sensing technology

         in a wide array of markets.

                 16.    The Debtor’s applications and products are currently targeted towards four key

         market groups:

                    a. Security market: In the Security market, the Debtor offers its M Series LiDAR

                        sensors combined with its QORTEX 3D perception software for perimeter security

                        and intrusion detection applications in critical infrastructure facilities.

                    b. Smart Cities / Spaces market: In the Smart Cities / Spaces market, the Debtor’s

                        sensors and software are used in to improve the movement and safety of people and

                        vehicles in dense urban settings, commercial offices, retail stores, airports and other

                        high density environments.

                    c. Industrial market: In the Industrial market, the Debtor’s sensors enable the

                        automation of industrial locations, such as shipping ports, and also allow mobile

                        robots to operate more quickly, safely and efficiently in warehouse and other

                        industrial environments.

                    d. Transportation market: The Transportation market consists of passenger vehicles

                        as well as heavy vehicles and off highway applications such as agricultural and

                        mining equipment. The Debtor has been investing in the development of a solid

                        state LiDAR sensor, which has no moving parts and is based on mature silicon

                        process technologies, designed to offer the durability, performance and low cost




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                        desired by transportation customers. The Debtor’s solid state sensor is not yet

                        commercially available.

                 17.    The Debtor generates revenue primarily by entering into supply arrangements with

         channel partners, including systems integrators, value added resellers and distributors, who in turn

         sell the Debtor’s products to end customers, often times bundled with third-party products. These

         supply agreements do not necessarily obligate the channel partner to purchase products from the

         Debtor. Instead, revenues are generated as these channel partners submit purchase orders based

         on their engagements with end customers.

                B.      The Debtor’s Employees

                 18.    The Debtor operates out of a headquarters located in Sunnyvale, California. As of

         the Petition Date, the Debtor employs approximately eighty-seven (87) full-time (salaried and

         hourly) employees, none of whom are subject to a collective bargaining agreement.

                 19.    Prior to the Petition Date, the Debtor issued a notice under the Worker Adjustment

         and Retraining Notification Act, 29 U.S.C. §§ 2101 – 2109, and other similar state and local laws

         (the “WARN Acts”). However, the Debtor does not expect to terminate Employees prior to the

         termination of the notice period under the WARN Acts, given its anticipated need for the

         employees’ assistance through the Chapter 11 Case and sale process.

                C.      Special Purpose Acquisition Company Transaction

                 20.    On June 21, 2021, CITIC Capital Acquisition Corp. (“CCAC”), CITIC Capital

         Merger Sub Inc., a wholly owned subsidiary of CCAC (“Merger Sub”), and Quanergy Systems,

         Inc., (when referred to in its pre-Business Combination (as defined below) capacity, “Legacy

         Quanergy”) entered into an Agreement and Plan of Merger (as amended, the “Merger

         Agreement”). Pursuant to the terms of the Merger Agreement, on the Closing Date (as defined


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         below) Merger Sub merged with and into Legacy Quanergy, with Legacy Quanergy continuing as

         the surviving corporation and a wholly-owned subsidiary of the Debtor (the “Business

         Combination”). On January 28, 2022, Legacy Quanergy changed its name to Quanergy Perception

         Technologies, Inc.

                 21.   On February 7, 2022, CCAC effectuated a change of its jurisdiction of

         incorporation by deregistering as an exempted company in the Cayman Islands and domesticating

         and continuing as a corporation formed under the laws of the State of Delaware (the

         “Domestication”). Pursuant to the Domestication, each of CCAC’s then issued and outstanding

         Class A Ordinary Shares and Class B Ordinary Shares automatically converted, on a one-for-one

         basis, into shares of common stock of CCAC. All of CCAC’s outstanding warrants became

         warrants to acquire shares of the Debtor’s common stock. In connection with the Domestication,

         CCAC changed its name from CITIC Capital Acquisition Corp. to Quanergy Systems, Inc.

                 22.   On February 8, 2022, the closing date of the Business Combination (the “Closing

         Date”), certain investors purchased from the Debtor an aggregate of 3,695,000 shares of common

         stock at a price of $10.00 per share, for an aggregate purchase price of approximately $36.5

         million, in a private placement pursuant to separate subscription agreements consummated

         substantially concurrently with the closing of the Business Combination (the “PIPE

         Financing”). Upon the closing of the Business Combination and the PIPE Financing, the Debtor

         received net cash proceeds of $43.8 million, $35.0 million of which was used to pay down

         outstanding convertible notes with accrued interest, and closed on a $125 million equity line of

         credit facility with Global Emerging Markets Group (“GEM”), a Luxembourg-based private

         alternative investment group.




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                D.      Organizational Structure

                 23.    Quanergy Systems, Inc. is the direct parent of non-Debtor Quanergy Perceptions

         Technology Inc., which is the direct or indirect parent of multiple foreign subsidiaries, which are

         non-Debtors in this Chapter 11 Case. The Debtor’s foreign subsidiaries are as follows:

                           Quanergy Systems FZ-LLC: Quanergy Systems FZ-LLC is incorporated in
                            Dubai, United Arab Emirates and serves as a sales office for customers in the
                            Middle East.

                           Quanergy Systems Canada Inc.: Quanergy Systems Canada Inc. is incorporated
                            in Canada and serves as a research and development center focused on software
                            development.

                           Quanergy Systems Hong Kong Limited: Quanergy Systems Hong Kong
                            Limited is incorporated in Hong Kong and serves as a holding company for
                            Quanergy (Shanghai) Electronic Science & Technology Ltd.

                           Quanergy (Shanghai) Electronic Science & Technology Ltd.: Quanergy
                            (Shanghai) Electronic Science & Technology Ltd. is incorporated in the
                            Peoples Republic of China and serves as a sales office for customers in China.

                           Quanergy Systems Japan GK: Quanergy Systems Japan GK is incorporated in
                            Japan and serves as a sales office for customers in Japan.

                           Quanergy Systems UK Limited: Quanergy Systems UK Limited is a limited
                            liability company organized under the laws of the United Kingdom and serves
                            as a sales office for customers based in the United Kingdom.

                           Quanergy Systems, GmbH: Quanergy Systems, GmbH is organized under the
                            laws of Germany and serves as a sales office for customers in Germany.

                 24.    A chart showing the Debtor’s organizational structure as of the Petition Date is

         attached hereto as Exhibit A.

                E.      Prepetition Capital Structure

                        i. Secured Indebtedness

                 25.    As stated above, in connection with the Business Combination, approximately

         $35.0 million of secured outstanding convertible notes, which included accrued interest, was

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         repaid, and since the Business Combination, the Debtor has incurred no additional funded secured

         debt. Therefore, as of the Petition Date, the Debtor has no funded secured debt.

                          ii. Unsecured Indebtedness and Trade Debt

                    26.   In the ordinary course of business, the Debtor incurs unsecured indebtedness to

         various suppliers, trade vendors, landlords, utility providers, and service providers, among others.

         In addition, the Debtor incurred obligations related to unsecured promissory notes to professionals

         in connection the Business Combination that remain unpaid. As of the Petition Date, the Debtor’s

         estimated outstanding unsecured indebtedness, including trade payables, is approximately $25

         million.

                          iii. Equity Holders

                    27.   The Debtor is a publicly-traded company with its common stock and warrants

         previously listed on the New York Stock Exchange. Trading of the Debtor’s common stock and

         warrants have suspended pending a delisting determination made by the staff of the New York

         Stock Exchange (“NYSE”) Regulation, which the Debtor is in the process of appealing. The

         Debtor’s common stock and public warrants are currently traded on the over-the-counter, or OTC,

         market under the ticker symbols QNGY and QNGYW, respectively. As of November 10, 2022,

         there were 16,164,406 shares of the Debtor’s common stock outstanding.

                    28.   Historically, the Debtor financed its operations primarily through private

         placements of convertible preferred stock and issuance of convertible notes. From the date of the

         Debtor’s incorporation through September 30, 2022, the Debtor has raised, in the aggregate, net

         proceeds of approximately $298 million, including approximately $154 million from the issuance

         of convertible preferred stock, approximately $90 million from the issuance of convertible notes,

         approximately $44 million of net proceeds from the Business Combination, and approximately


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         $11.6 million from draw downs of a share subscription facility with Global Emerging Markets

         Group (“GEM”), a Luxembourg-based private alternative investment group. In the year ended

         December 31, 2021 and nine months ended September 30, 2022, the Debtor incurred a net loss of

         $63.5 million and $148.0 million, respectively, and used $30.1 million and $45.0 million,

         respectively, in cash to fund operations. The Debtor’s accumulated deficit was $455.6 million as

         of September 30, 2022.

         II.    Circumstances Giving Rise to This Chapter 11 Case

                A.      The Debtor’s Declining Liquidity and Inability to Access Financing

                 29.    Several factors contributed to the Debtor’s need to commence the Chapter 11 Cases,

         including operational, financial, and macroeconomic challenges that have, over time, tightened the

         Debtor’s liquidity, complicated the Debtor’s operations, and limited the Debtor’s access to capital.

                 30.    Following the Business Combination, despite operating performance in-line with

         expectations, the Debtor’s capital structure proved insufficient to fund ongoing operational needs

         due to the challenging equity markets in the LiDAR sector, which impacted the Company’s stock

         price and access to its equity line of credit from GEM. For example, in the Debtor’s peer group,

         which includes eight (8) other publicly traded LiDAR providers, share price is down 69% over the

         last 12 months. As described in more detail below in Section II.B., as a result of the Debtor’s stock

         price falling precipitously since the Business Combination, and delisting procedures commenced

         by the NYSE that followed, the Debtor’s access to capital was significantly impaired, which

         directly contributed to the Debtor filing this Chapter 11 Case.

                 31.    Leading up to the Petition Date, the Debtor also faced certain operational

         challenges, including supply chain issues related to the COVID-19 pandemic. While the supply

         chain challenges have started to improve in the recent past, certain component parts and alternative


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         parts have remained difficult or more costly for the Debtor to procure, which has impacted revenue

         and gross margins through 2022.

                  32.    The Debtor also operates in a challenging commercial environment. The LiDAR

         market generally faces challenges as a new, early-stage technology that requires significant capital

         to scale. Most companies in the LiDAR market, including the Debtor, have a high-cost structure

         and low revenue base as LiDAR technology continues to be developed and improved. The Debtor,

         therefore, requires significant cash and ample financing for its operations.

                  33.    The Debtor also faced challenges prepetition resulting from litigation between the

         Debtor and Velodyne LiDAR USA Inc. (“Velodyne”), which was a significant factor contributing

         to the lack of interest from potential purchasers in the Debtor’s prepetition marketing and sale

         process. The litigation, which was costly to defend and a distraction for management, has recently

         been resolved, providing more certainty to the market with respect to certain of the Debtor’s

         intellectual property. The Debtor is hopeful that a postpetition marketing process will yield more

         interest as a result of this resolution.

                  34.    In order to address the liquidity constraints caused by the foregoing factors, and in

         an effort to better-position the Company for continued growth, the Debtor began seeking additional

         capital and financing in the first quarter of 2022. By the third quarter of 2022, the Debtor’s strategy

         focused around raising equity capital through a public equity offering to improve its cash position

         and better position the Debtor to obtain complementary debt financing that would be sufficient to

         provide runway into 2024 or beyond. In parallel, the Debtor ran a marketing process for a strategic

         going concern or asset sale. Despite the Debtor’s efforts, however, the Company was unable to

         mitigate the challenges it faced leading up to the commencement of the Chapter 11 Case.




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                B.      The Debtor’s Prepetition Financing Process

                 35.    In late July 2022, the Debtor began evaluating its ability to raise equity through a

         public offering to address its liquidity needs. The Debtor retained Maxim Group LLC (“Maxim”)

         to run this process, with a goal of raising funds sufficient to allow for the funding of on-going

         operations while the Debtor continued to look for long term solutions to address its liquidity

         constraints. Concurrently, the Debtor began a debt financing process.

                 36.    Raymond James launched a multi-pronged outreach effort to 118 potential debt

         financing parties. Of the 118 potential debt financing parties, 58 were venture debt and other

         parties that could be interested in taking a longer-term growth outlook on an investment

         opportunity with the Debtor. The remaining 60 potential debt financing parties included distressed

         or opportunistic lenders that may be more generally focused on the recovery value of the collateral

         to support a financing transaction. Conversations with lenders explored a variety of structuring

         alternatives, including whether they may be interested in supporting a strategic transaction,

         including through a debtor-in-possession financing facility.

                 37.    Of the 118 parties contacted, Raymond James held diligence calls with 26 parties

         to review the opportunity and answer questions. Twenty-four parties entered into non-disclosure

         agreements with the Debtor. To support this process, the Debtor organized a comprehensive 163-

         document data room, including a 25-page Confidential Information Memorandum (“CIM”), for

         parties under non-disclosure agreement. None of the parties under NDA ultimately submitted an

         actionable debt-financing proposal.

                 38.    By mid-August 2022, however, the Debtor determined, in consultation with its

         advisors and based on initial feedback from potential lenders, that a debt financing transaction

         would be more likely after improving the Debtor’s balance sheet through the completion of the


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         public equity financing. On October 30, 2022, the Debtor entered into an underwriting agreement

         with Maxim, pursuant to which Maxim agreed to issue and sell, in a registered public offering by

         the Debtor (the “Public Offering”), 9,800,000 shares of the Debtor’s common stock, par value

         $0.0001 per share, and 19,600,000 warrants with a term of five years to purchase one share of

         common stock at an exercise price of $1.70 per share. On November 2, 2022, the Public Offering

         closed, and the Debtor raised approximately $15.4 million in net proceeds.

                 39.    Based on feedback from certain potential lenders that continued to engage with the

         Debtor, and representations from Maxim that Maxim believed it could raise a convertible note

         following the Public Offering, and had in fact received inbound inquiries from investors regarding

         the same, the Debtor believed that the capital raised from the Public Offering would help facilitate

         a financing transaction and that the funds made available through such transaction, together with

         the capital raised from the Public Offering, would provide the Debtor with sufficient liquidity

         through 2023. However, immediately following the closing of the Public Offering, the Debtor’s

         stock price dropped precipitously, from $3.30 per share immediately before the Public Offering,

         to $0.71 per share by November 8, 2022, and down to $0.24 per share by November 9, 2022,

         adversely affecting the Debtor’s market capitalization.       On November 8, 2022, the NYSE

         announced that NYSE Regulation had decided to commence proceedings to delist the Company’s

         securities from the NYSE because the Debtor had fallen below the NYSE’s continued listing

         standard requiring companies to maintain an average market capitalization of $15 million over a

         consecutive 30 trading day period. That same day, after the market close, the NYSE immediately

         suspended trading in the Debtor’s securities, as authorized under NYSE Rule 804.00.




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                C.      The Debtor’s Prepetition Restructuring Initiatives and Marketing Process

                 40.    As mentioned, in June 2022, the Debtor began exploring strategic alternatives to

         preserve liquidity and maintain its operations. Beginning in late August, the Debtor, with the

         assistance of Raymond James, began outreach to potential counterparties for a going-concern sale.

         Raymond James’ outreach focused on parties that would be a strategic fit for the Debtor, including

         other LiDAR providers and also other prospects that could potentially leverage the Debtors sensors

         and software in other markets. The Debtor’s prepetition marketing process included outreach to

         36 prospective buyers for a going-concern transaction, twenty-seven (27) of which Raymond

         James held preliminary diligence calls with to review the opportunity and answer questions. [Eight

         (8)] parties entered into non-disclosure agreements with the Debtor. No party submitted an

         actionable proposal.

                 41.    On November 7, 2022, Ouster, Inc. (“Ouster”) and Velodyne announced plans to

         merge in an all-stock transaction. The announcement of the proposed merger made it unlikely that

         either Ouster or Velodyne could become acquirers of the Debtor in the near-term, because the

         companies had chosen a merger partner with products and technologies that are competitive to

         those of the Debtor and the companies would be preoccupied working to complete the merger, so

         would be less likely to engage in acquisition discussions with the Debtor.

                D.      The Path Forward

                 42.    The Debtor enters chapter 11 in order to pursue a value-maximizing sale process

         that builds upon the Debtor’s prepetition marketing efforts. The Debtor believes that certain

         measures taken prepetition have substantially increased the likelihood of a successful postpetition

         marketing process. Prior to the Petition Date, the Debtor undertook certain cost-saving measures

         that have significantly reduced operating expenses. This allows for a postpetition sale process


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         focused on the value of the Debtor’s assets, without the burden of significant operating expenses

         resulting from employee headcount and other overhead costs. Further, on November 23, 2022, the

         Debtor and Velodyne entered into a settlement agreement and patent cross license agreement that

         resolved all litigation between the parties. The Debtor believes that the resolution of this litigation,

         which caused reluctance for certain prospective purchasers in pursuing a transaction prepetition,

         provides helpful clarity to potential purchasers of the Debtor’s assets that are covered under the

         settlement agreement.

                  43.    Further, while the Debtor would still welcome and be positioned to close on going-

         concern bids for its business, it intends to market its assets more broadly postpetition, including

         by contacting potential purchasers that may be interested in only certain business segments or

         assets. In addition, the Debtor believes marketing its assets with the benefits afforded to a buyer

         under section 363 of the Bankruptcy Code will provide the Debtor with certain advantages to

         effectuating a sale transaction or transactions in chapter 11, that were not available to the Debtor

         during the prepetition marketing process. In addition, certain developments in the LiDAR market,

         including the pending Ouster/Velodyne merger and the pending asset sale transaction between

         Ibeo Automotive Systems GmbH and MicroVision, Inc., may signal the start of a wave of

         consolidation activity in the LiDAR sector.

                  44.    The Debtor enters Chapter 11 with approximately $9 million in cash on hand to

         fund this case and implement a postpetition sale process. Without any debtor in possession

         financing, the Debtor’s liquidity is constrained and will only permit funding a sale process on an

         expedited timeline that allows for a sale closing in early February. The sale timeline contemplated

         gives consideration to this liquidity constraint, the marketing efforts made prepetition, and the

         Debtor’s belief that conducting a sale and marketing process postpetition, which will allow the


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         Debtor to sell its assets free and clear of any liabilities, best positions the Debtor to maximize value

         for its stakeholders.

         III.    Summary of First Day Motions

                  45.    To minimize the adverse effects of commencement of this Chapter 11 Case on the

         Debtor’s business and asset value, the Debtor has requested a variety of relief in the First Day

         Motions filed contemporaneously herewith.          Specifically, the Debtor seeks approval of the

         following First Day Motions:

                        Debtors’ Application for Entry of an Order (I) Authorizing the Appointment of
                         Stretto as Claims and Noticing Agent in the Chapter 11 Case; and (II) Granting
                         Related Relief
                        Debtor’s Motion for Entry of an Order (I) Authorizing the Redaction of Certain
                         Personal Identification Information in the Debtor’s Creditor Matrix; (II) Modifying
                         the Requirement to File a List of Its Equity Security Holders and Notice Thereto;
                         and (III) Granting Related Relief
                        Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing Payment of
                         Certain Prepetition Taxes and Fees and (II) Authorizing Financial Institutions to
                         Honor All Related Checks and Electronic Payment Requests
                        Debtor’s Motion for Interim and Final Orders (I) Prohibiting Utility Companies
                         From Discontinuing, Altering, or Refusing Service, (II) Deeming Utility
                         Companies to Have Adequate Assurance of Future Payment, (III) Establishing
                         Procedures for Resolving Requests for Additional Assurance, and (IV) Granting
                         Related Relief
                        Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing Continued
                         Use of Cash Management System; (II) Authorizing Use of Prepetition Bank
                         Accounts and Certain Payment Methods; (III) Waiving the Requirements of 11
                         U.S.C. Section 345(b) on an Interim Basis; and (IV) Granting Related Relief
                        Debtor’s Motion for Interim and Final Orders, Pursuant to Sections 105(a),
                         362(a)(3) and 541 of the Bankruptcy Code and Bankruptcy Rule 3001, Establishing
                         Notice and Hearing Procedures for Trading in, or Certain Claims of Worthlessness
                         With Respect to, Equity Securities in Quanergy Systems, Inc.
                        Debtor’s Motion for Entry of Interim and Final Orders Authorizing, But Not
                         Directing, the Debtor to Honor Certain Prepetition Obligations Arising Under
                         Customer Program
                        Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the Debtor
                         to Pay and Honor Certain (A) Prepetition Wages, Benefits, and Other
                         Compensation Obligations; (B) Prepetition Employee Business Expenses; and (C)
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                          Workers’ Compensation Obligations; (II) Authorizing Banks to Honor and Process
                          Checks and Transfers Related to Such Obligations; and (III) Granting Related
                          Relief

                 46.      In addition to the First Day Motions, contemporaneously herewith the Debtor files

         (a) Debtor’s Motion for Entry of (I) an Order (A) Approving Certain Bidding Procedures and the

         Form and Manner of Notice Thereof, (B) Scheduling an Auction and a Hearing on the Approval

         of the Sale of All or Substantially All of the Debtor’s Assets, (C) Establishing Certain Assumption

         and Assignment Procedures and Approving Manner of Notice Thereof, (D) Scheduling a Hearing

         to Approve Assumption and Assignment of the Assumed Contracts, and (E) Granting Related

         Relief; and (II) an Order (A) Authorizing and Approving the Debtor’s Entry into an Asset Purchase

         Agreement, (B) Authorizing the Sale of all or Substantially all of the Debtor’s Assets Free and

         Clear of all Encumbrances, (C) Approving the Assumption and Assignment of the Assumed

         Contracts, and (D) Granting Related Relief (the “Bidding Procedures Motion”) and (b) and a

         motion to shorten notice of the time for the Bidding Procedures Motion to be heard by the Court

         (the “Motion to Shorten”). For the reasons stated therein and in the declaration of Geoffrey

         Richards in support of the Bidding Procedures Motion filed contemporaneously therewith, the

         Debtor requests that this Court grant the Motion to Shorten at the first day hearing and schedule a

         hearing on the Bidding Procedures Motion as expeditiously as possible to allow for the Debtor to

         market and sell its assets in Chapter 11 under the time constraints created by the Debtor’s limited

         cash position.

                 47.      I am familiar with the contents of each of the First Day Motions and the Bidding

         Procedures Motion, and to the best of my knowledge, information, and believe, the facts set forth

         therein are true and correct. I believe that the relief sought therein is necessary to permit an

         effective transition into chapter 11 and to therefore preserve and maximize value of the Debtor’s

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         estate for the benefit of the Debtor’s stakeholders. The relief requested in connection with the

         First Day Motions is also narrowly tailored so as to only seek such relief as the Debtor believes is

         necessary to avoid immediate and irreparable harm to the Debtor’s estate.

                 48.    Furthermore, I believe that with respect to the First Day Motions requesting the

         authority, but not direction, to pay discrete prepetition claims or to continue selected prepetition

         programs, the relief requested is essential to allowing the Debtor to continue the essential

         operations that are necessary to a value-maximizing sale process. Granting the interim relief

         described therein is necessary to avoid immediate and irreparable harm to the Debtor and its

         employees, customers, vendors, creditors, equity holders, and other stakeholders. I further believe

         that such relief is necessary to enable the Debtor to continue its operations to the extent necessary

         to run a value-maximizing sale process, including by paying its employees in the ordinary course

         of business.

                                                   CONCLUSION

                 49.    The Debtor’s ultimate goal in this chapter 11 case is to consummate a value-

         maximizing transaction for the benefit of all of its creditors. In the near term, however, to minimize

         any loss of value of its business or assets during this time, the Debtor’s immediate objective is to

         maintain a business-as-usual atmosphere during the pendency of this chapter 11 case, with as little

         interruption or disruption to the Debtor’s operations as possible. I believe that if the Court grants

         the relief requested in each of the First Day Motions, the prospective for achieving the Debtor’s

         objectives will be substantially enhanced.



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                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

         statements are true and correct.


         Date: December 13, 2022                          /s/ Lawrence Perkins




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                                                                                                                         Debtor
                                                                                                                         Non-Debtor
                                                            Quanergy Systems, Inc.
                                                                 Sunnyvale
                                                                Quanergy HQ




                                                            Quanergy Perception
                                                             Technologies, Inc.
                                                                Sunnyvale




Quanergy Systems FZ-LLC   Quanergy Systems   Quanergy Systems Hong          Quanergy Systems       Quanergy Systems UK    Quanergy Systems, GmbH
        Dubai               Canada Inc.          Kong Limited                   Japan GK                 Limited                  Munich
     Sales Office             Ottawa              Hong Kong                       Tokyo                  London                 Sales Office
                            R&D Center            Sales Office                 Sales Office            Sales Office




                                               Quanergy (Shanghai)
                                               Electronic Science &
                                                 Technology Ltd.
                                                Shanghai, PR China
                                                   Sales Office
